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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

 PERSONALIZED MEDIA
 COMMUNICATIONS, LLC,

                Plaintiff,

 v.                                               Civil Action No. 2:19-cv-00091-JRG

 NETFLIX, INC.,

                Defendant.


                  NETFLIX’S UNOPPOSED MOTION FOR LEAVE
           TO FILE ITS MOTION TO DISMISS OR, IN THE ALTERNATIVE,
               TO TRANSFER FOR IMPROPER VENUE UNDER SEAL

       Pursuant to L.R. CV-5(a)(7), Netflix, Inc. (“Netflix”) files this Unopposed Motion for

Leave to File its Motion to Dismiss or, in the alternative, to Transfer for Improper Venue

(“Motion”) under seal.

       Netflix’s Motion and attachments contain confidential information of such a sensitive

nature that its disclosure creates a risk of harm that outweighs the strong presumption in favor of

public access to judicial proceedings. Netflix has conferred with Plaintiff’s counsel, and they do

not oppose the sealing of Netflix’s Motion. Accordingly, Netflix respectfully requests that the

Court allow Netflix to file its Motion and accompanying attachments under seal.




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                                                    Respectfully submitted,

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                                                    ATTORNEYS FOR DEFENDANT
                                                    NETFLIX, INC.


                                CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was filed electronically in
compliance with Local Rule CV-5(a). All other counsel of record not deemed to have consented
to electronic service were served with a true and correct copy of the foregoing by electronic mail
on this 30th day of May, 2019.

                                                    /s/ Jennifer H. Doan          _______
                                                    Jennifer H. Doan



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